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NORTHERN DISTRICT OF TEXAS

ABILENE DIVISION
ROBERT STEVEN REITZ, §
§
Plaintiff, §
§
v. § No. 1:16-CV-0181-BL
§
CITY OF ABILENE, et al., §
§
Defendants. §

MEMORANDUM OPINION AND ORJ)ER

The Court has under consideration Defendants’ Joint Motion to Stril<e Plaintiff’ s Designated
Expert Witnesses (doc. 70), Which is supported by Defendants’ Memorandum in Support (doc. 71)
[hereinafter Mem. Supp.] and Appendix to Defendants’ Joint Motion (doc. 72) [hereinafter Defs.’
App.]. Pursuant to Dauberr v. Merrell Dow Phar'macemicals, Inc. , 509 U.S. 579 (1993), Dei`endants
ask the Court to set the motion for hearing and, after the hearing, to exclude the testimony of retained
expert Witness, Robert K. Gill, and to strike Plaintift”s designations of two non-retained expelt Wit-
nesses - Stacie Wirmel and Robert Wallace, Ph.D. Mot. at l; Mem. Supp. at 1-6.l

Plaintiff has filed a Response Pleading to Oppose Defendants’ Joint Motion (doe. 81)
[hereinafter Resp.];2 a Brief (doc. 82) in support of that response; and an Appendix to Response
Pleading to Oppose Defendants’ Join Motion (doc. 83) [hereinafter App. Resp.] that contains five

exhibits, including Exhibit III (affidavit and resume of Gill), Exhibit IV (portions of deposition

 

lAlthough labeled as a motion to strike, the body of the motion and supporting memorandum reflect that Defendants
seek to exclude the expert testimony.

2Within his response, Plaintiff states that only three of the four current defendants have joined the motion to strike,
see Resp. at 2. n.2, but both the motion and its supporting memorandum show that the fourth defendant (Taylor County)
also joins in the motion, see Mot. at 1-2; Mem. Supp. at l, 7. While the purpose of the footnoted statement is unclear,
it is clear that the statement is factually incorrect From the Court’s perspective, all current defendants join in the motion
to strike.

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transcripts of Wirmel) [hereinafter Wirmel Dep.], and Exhibit V (portions of depositions transcripts
of Wallace [hereinafter Wallace Dep.]). Defendants did not file a reply brief The motion became
ripe for ruling with the passing of the deadline to reply. For the reasons that follow, the Court denies
the motion to strike without prejudice to Defendants filing a similar motion or objections consistent
With this order.3
I. BACKGROUND

The Court recently accepted a Third Arnended Complaint as the operative pleading for
Plaintiff in this action. See Mem. & Order (doc. 87). Through that pleading and pursuant to 42
U.S.C. § 1983, Plaintiff sues Ofiicer Jirnmy Woods, Detectives John R. Wilson III and Lariy Tatum,
and Taylor County, ".l`exas,4 for alleged violations of his constitutional rights. This litigation stems
from alleged events occurring in and after September 2015 when Ofiicer Woods and others burst
into Plaintii`f’ s apartment Without a Warrant and ultimately arrested him. As stated in briefing on a
pending motion for summary judgment, a 911 call regarding a shooting and possible hostage situa-
tion at Plaintiff’s apartment commenced the series of events that led to this litigation5 See Defs.’
Woods’ and Wilson’s Br. Supp. Mot. for Summ. J. (doc. 77) at 7. Not long after his initial arrest
and reiease, Stacie Wirrnel of a local television station interviewed Plaintiff about the events leading

to his arrest and later televised and published an online news story about what had happened

 

3'l`his case proceeds on the written consent of all parties See Joint Rule 26(i) Report (doc. 46) (consent of all original
paities); Consent to Proceed Before a United States Magistrate Judge (doc. 86) (consent of Taylor County).

4For ease of reference, the Court will refer to Woods and Wilson collectively as the City Defendants and Tatum and
Taylor County as the County Defendants when warranted

5The Court may take judicial notice of matters in the court record. No party appears to contest that a 911 call com-
menced the events leading to this litigation and the Coult is referring to the summary judgment briefing only to add
context to the factual situation. Of course, at this point, the Court is making no determination as to the accuracy of the
stated facts in the summary judgment briefing

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Plaintiff Was later re-arrested and charged, but those charges were ultimately dismissedl

In 2017, Plaintiff retained Robert Gill, an attorney in private practice With prosecutorial and
judicial experience, as an expert for this case. See Aff. Gill 114. On February 16, 2018, the Court
issued an Amended Pr'etrial Scheduling Order (doc. 55) wherein it set an April 2, 2018 deadline for
parties With the burden of proof on a claim to comply with Fed. R. Civ. P. 26(a)(2) and file expert
Witness designations lt also set a September 5, 2018 deadline for filing dispositive motions, includ-
ing motions regarding expert witnesses. The court record does not reflect any filed expert witness
designationl

On .`lune 1, 2018, Plaintiff deposed Robert Wallace, Ph.D., a department chair and professor
of Sociology and Criminology at McMurry University. See Wallace Dep. at 4. Plaintiff deposed
Wallace “simply as a fact witness.” Ia’. Wallace testified that Detective Wilson, a person he did not
know, contacted him to compare two voice recordingsl Ia'. at 7-8. He “performed this service as a
citizen for no fee.” Id. at 11. After reviewing the recordings, he told Wilson in an email:

Acting only as a third-party reviewer and not as a voice recognition expert, l found

enough dissimilarities between the 9-1-l caller and the person talking about his

phone to have reasonable doubt that they were the same person. In particular, l heard

distinct age differences in the voices. If 1 can be of further assistance, just let me

know.
Id. at 10-1 l. Because Wilson had said that he did not need to return the recordings, Wallace
destroyed them. Id. at 1 l. ln addition to testifying about the voice recordings, Wallace testified that,
at a conference, he had presented a paper titled “The lnnocent Men: Psychological Adjustments After
Exoneration” in which he had concluded that being falsely charged can be a very upsetting experi-

ence for along period of time. Id. at 12. On cross-examination, Wallace confirmed that he does not

hold himself out as a voice recognition expert, has had no formal training in that field, and is not

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saying that his opinion on the voice comparison is an expert opinion. Id. at 14-15.

Plaintiff also deposed Wirmel on June 1, 2018. See Wirmel Dep. at l. She testified that she
is a reporter and news anchor for KTAB in Abilene. Ia’. at 4-5. She graduated from Texas Tech
University with training in journalism. ld. at 5. As part of her story on October 13, 2015, she stated
that Plaintiff was cleared of all charges, but she realized that it Was an ongoing investigation and that
additional evidence might be found to prosecute him. Id. at 35 . She testified that, after she ran her
story on October 13, 2015, a public information officer of the Abilene Police Department told her
that there was more to the story and suggested that she interview Detective Wilson. Id. at 47. She
did interview Wilson for a follow-up story, but did not air it because the Chief of Police directed her
not to run it. Id. at 47, 50-52. At the time she made her report and published it, no one had given
any indication that they had even a lingering doubt that Plaintiffhad committed any misconduct [d.
at 14.

Plaintiff states that he designated Wirmel and Wallace as experts at some point following
these depositions In August 2018, the County Defendants supplemented their initial Fed. R. Civ.
P. 26(a)(1) disclosures to identify Gill, Wallace, and Wirrnel as persons that are likely to have infor-
mation that they may use to support their defenses See Ex. Ito App. Resp. The next month the City
Defendants made a similar supplement See Ex. ll to App. Resp. Both supplements characterize
each of these three individuals as an expert for Plaintiff. See Ex. I and II.

Although the record lacks any indication that Plaintiff filed an expert witness designation,
Defendants timely moved to strike Plaintiff" s retained expert Witness (Giil) and to strike Plaintiff’ s
designation of non-retained expert witnesses Wallace and Wirmei. Defendants challenge the quali-

fications of these three witnesses to render expert opinions and the reliability of opinions from Gill

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and Wallace. In response, Plaintiff contends that the motion lacks merit and is premature in that no
one has offered any expert testimony for any purpose. ln addition to deposition testimony noted
above, Plaintiff provides an affidavit and resume from Gill to support his opposition to the motion.
In his affidavit, Gill specifically states that he is not giving any opinions in his affidavit because it
is for the limited purpose of providing information about his qualifications See Aff`. Gill. 1[ 5. The
motion is now ripe for consideration
II. PRELIMINARY MA'I`TERS

First, the Court finds no reason to hold a hearing on the motion despite Defendants’ request
for a hearing. The general rule in this district is not to hold oral argument on a motion. See N.D.
Tex. L.R. 7.1(g). Although there are issues with the motion as discussed more fully later in this
opinion, the Court finds a hearing unnecessary at this time.

fn briefing this motion, no party has provided any expert designation by Plaintiff even though
the Court set an April 2, 2018 deadline for complying with Fed. R. Civ. P. 26(a)(2), which addresses
disclosure of expert testimony, and for filing expert Witness designations Plaintiff explains that he
designated Wallace and Wirmel as experts after deposing them as fact witnesses in June 2018 and
realizing that they “had some pertinent expert lmowledge.” Resp. at 1-2 & n. 1. In addition he sub-
mits that he has “tirnely and properly designated experts” and that Defendants Woods, Wilson, and
Tatum “appear to have cross~designated” the same witnesses as experts Id. at 2. As grounds to
strike or exclude the experts, Defendants do not contest the timeliness of Plaintiff"s expert desig-
nations or otherwise rely on any procedural deficiency in the expert witness designations Accord-
ingly, the Court proceeds as though the Rule 26(a)(2) disclosures are both timely and procedurally

correct.

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Nevertheless, based on the information provided by Plaintiff, the Court does not find that
Defendants have cross-designated the same experts as he has. As support for the alleged cross-desig-
nation of the same experts, Plaintiff provides supplemental disclosures from the Defendants See
Exs. l and ll of App. Resp. However, as reflected in those supplements Defendants are merely
supplementing their disclosures under Fed. R. Civ. P. 26(a)(1), which governs initial disclosures
generally That Defendants identify Gill, Wallace, and Wirmel as Plaintiff" s experts does not reflect
that Defendants are cross-designating them as their own experts Such identification is no more than
a reflection that Plaintiff had identified the individuals as his experts The supplements provide no
support for finding that Defendants have attempted to cross-designate the individuals as experts
under Fed. R. Civ. P. 26(a)(2).

The Court also finds no prematurity per se in Defendants’ motion even though no one has
yet to proffer an expert opinion for any purpose First, the Court’s scheduling order clearly contem-
plates the filing of such a motion on or before September 5, 2018. Unless modified, that scheduling
order dictated that Defendants make the motion before Plaintiff responded to their motions for
summary judgment Second, absent stipulation between the parties or order of the court, the expert
disclosure requirements of Fed. R. Civ. P. 26(a)(2) require disclosure of “a complete statement of
all opinions" to be expressed by a specially retained or employed expert, see Rule 26(a)(2)(B)(i), and
for other experts, “a summary of the facts and opinions to which the witness is expected to testify,”
See Rule 26(a)(2)(C)(ii). Under these rules, the substance of expert witness testimony may be eval-
uated prior to any actual reliance on the testimony at trial or related to a dispositive motion.
Although the Court ultimately finds issues with the current motion which limit its consideration of

the matters raised, it does not find the motion premature

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With these preliminary issues resolved, the Court considers the motion as presented by

Defendants
III. MOTION TO STRIKE

Prior to any attempted admission into evidence, Defendants seek to strike the testimony of
a retained expert witness (Gill) and to strike designations of two non-retained expert witnesses
(Wallace and Wirmel) pursuant to Daubert v. Merrell Dow Pharmaceurfcals, Inc., 509 U.S. 579
(1993). Mot. at 1; Mem. Supp. at 1-6. They argue that the witnesses are not qualified to give expert
testimony against them. Mot. at l; Mem. Supp. at 3. They urge the court to exclude the experts as
unqualified because the former judge “is simply providing a legal opinion as to what he believes
should have been done in this case - Which is the province for this Honorable Court,” and the two
non-retained witnesses lack “any specialized training, education or experience germane to any issue
in this case.” Mem. Supp. at 3.

Defendants also urge the Court to exclude Gill’s testimony as not reliable because his
opinions are based on insufficient facts or data. Id. at 4. While accepting that “Gill is clearly a
highly qualified lawyer and former judge,” Defendants contend that his opinions are not based on
any scientific data or facts, but he simply opines “that he believes the Defendants acted improperly
under the law under the circumstances.” Ia’. They concede Gill “is an expert on criminal law,” but
argue that his testimony is not proper expert testimony because he is not offering forensic expert
opinions on what happened in this case, but is offering testimony more like an amicus brief in sup-
port of Plaintiff. Ia'. at 4-5. They argue that Gill’s opinions invade the province of the court and jury
and that he “unjustifiably extrapolate[s] from an accepted premise to an unfounded conclusion.”

Id. at 5.

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With respect to Wallace, Defendants submit that his testimony is both unreliable and highly
prejudicial because he testified in his deposition that he lacks formal training in voice recognition
and that his opinions were not expert opinions ld. Similarly, Defendants argue that the reporter is
not an expert on any of Plaintiff" s allegations and should only be permitted to testify as a fact Wit-
ness. Ia'. at 6.

Plaintiff contends that the motion lacks mer'it, characterizes the issue solely as whether the
witnesses are qualified, and submits that they are qualified to render expert testimony. Resp. at 4,
9. He provides (l) deposition testimony from Wirmel to show that she has been trained in journ-
alism at Texas Tech University; (2) deposition testimony from Wallace to show that he is a college
professor and department chair; and (3) a resume and affidavit to show that Gill is retired judge and
active attorney with extensive experience in the relevant area of law.

A. Applicable Law

Pursuant to Fed. R. Civ. P. 104(a,) “[t]he court must decide any preliminary question about

whether a witness is qualified, a privilege exists, or evidence is admissible.” Applying Fed. R. Evid.

7026 and Dcmf)ert v. Merrell Dow Pharmaceutr`cals, lnc., 509 U.S. 579 (1993), the Court acts as a

 

6Effective December l, 2011, Rule 702 provides:

A witness who is qualified as an expert by knowledge, skill, experience, training,
or education may testify in the form of an opinion or otherwise if:

(a) the expert‘s scientific, technical, or other specialized knowledge will help the
trier cf fact to understand the evidence or to determine a fact in issue;

(b) the testimony is based on sufficient facts or data;
(c) the testimony is the product of reliable principles and methods; and

(d) the expert has reliany applied the principles and methods to the facts of the
ease.

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gatekeeper for admissibility of expert testimony Kumho Tir'e Co. v. Carmichael, 526 U.S. 137, 149-
52 (1999). “To trigger a Dauberr‘ inquiry, an expert’ s testimony, or its factual basis, data, principles,
methods, or their application, must be called sufficiently into question.” Carlson v. Bioremedi Ther-
operate Sys., Inc. , 822 F.3d 194, 199 (5th Cir. 2016) (citation and internal quotation marks omitted).

The process of making these gate~keeping decisions is within the broad discretion of the trial
courts Kumho Tr`re Co., 526 U.S. at 152-53. Likewise, whether “to admit or exclude expert testi-
mony” is within the cour't’ s sound discretion. Gen. Elec. Co. v. Jor.`ner, 522 U.S. 136, 138-39 (1997).
Courts should approach such decisions “with proper deference to the jury’s role as the arbiter of dis~
putes between conflicting opinions.” Unz'ted States v. 14. 38 Acres ofLand, 80 F.3d 1074, 1077 (Sth
Cir. 1996) (quoting Vr'rerbo v. Dow Chem. Co., 826 F.2d 420, 422 (5th Cir. 1987)).

Rule 702 first requires courts to determine whether the expert is qualified “by knowledge,
skill, experience, training, or education” to render an opinion, The party seeking to use the expert’ s
testimony has the burden to show that the expert is qualified within the meaning of this rule. Lr'ttle
v. Tech. Specialty Prods., LLC, 940 F. Supp. 2d 460, 467 (E.D. Tex. 2013).

lf the proponent of the expert carries the burden to show that the expert is qualified, the
courts must next determine whether the expert’s opinion is reliable. The general principles set out
in Daabert apply to all matters described in Rule 702, i.e., scientific, technical, or other specialized
knowledge Ka.mho Tire Co., 526 U.S. at 149. ln general, the courts must find “a reliable basis in
the knowledge and experience of [the relevant] discipline.” Id. Although Dauberr‘ listed four factors

that might bear on the issue of reliability in a given case, it did not establish a “definitive checklist

 

The 201 l amendments “are intended to be stylistic only” without “intent to change any result in any ruling on evidence
adlnissibility.” Fed. R. Evid. 702 advisory committee notes (2011 amend.).

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or test.” See id. at 150 (quoting Danbert, 509 U.S. at 593). The trial court has wide latitude to con-
sider a variety of factors to determine the reliability of the expert’ s opinions in a particular case. See
id. at 150-52. In some cases, “the relevant reliability concerns may focus upon personal knowledge
or experience.” Ia’. at 150. The party seeking to use expert opinion testimony has the burden to
show the opinion reliable Moore v. Ashland Chem. Inc., 151 F.3d 269, 276 (Sth Cir. 1998) (en
banc).

Upon finding an expert opinion reliable, the courts must consider “other non-exclusive
factors to determine whether the testimony will assist the trier of fact,” including (1) relevancy of
the testimony; (2) whether the testimony “is within the juror’s common knowledge and experience',
and (3) whether it will usurp the juror’s role of evaluating a witness’s credibility.” United States v.
Rodrigaez-Felix, 450 F.3d 1117, 1123 (10th Cir. 2006). Whether testimony will assist the trier of
fact “goes primarily to relevance.” Daubert, 509 U.S. at 591. Rule 702 establishes a “helpfulness
standard,” and irrelevant expert testimony is not helpful. Id. at 591-92. Relevant expert testimony
logically advances a material aspect of the case and aids the trier of fact in resolving a factual dispute
given its connection to the facts of the case. In’. at 5 91. Determining whether testimony is helpful
to the trier of fact essentially depends orr whether the underlying reasoning and methodology can be
properly applied to the facts of the case. Id. at 593.

As a counterpart to Rule 702, Rule 703 addresses the bases for an expert’s testimony and

related admissibility issues.? Prz`mrose Operatirzg Co. v. Nat’l Am. Irrs. Co., 382 F.3d 546, 562 (Sth

 

7 Effective December l, 2011, Rule 703 provides:

An expert may base an opinion on facts or data in the case that the expert has been made aware of or
personally observed If experts in the particular field would reasonably rely on those kinds of facts
or data in forming an opinion on the subj ect, they need not be admissible for the opinion to be
admitted But if the facts or data would otherwise be inadmissible, the proponent of the opinion may

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Cir. 2004). 'l`hrough Rule 703, “the trial judge serves as a gatekeeper to ensure the reliability and
relevance of expert testimony.” fn re MBS Mgmt. Servs., Inc., 690 F.3d 352, 357 (5th Cir. 2012).
However, Rule 703 does not affect the qualifications of the expert Viterbo v. Dow Chem. Co. , 826
F.2d 420, 422 (5th Cir. 1987).

Given arguments by Defendants, Fed. R. Evid. 704(a) is also relevant to issues raised in their
motion. Subj ect to an exception applicable in criminal cases set out in subparagraph (b), Rule 704(a)
states that “[a]n opinion is not objectionable just because it embraces an ultimate issue.”

The abolition of the ultimate issue rule does not lower the bars so as to admit all

opinions Under Rules 701 and 702 opinions must be helpful to the trier of fact, and

Rule 403 provides for exclusion of evidence which wastes time. These provisions

afford ample assurances against the admission of opinions which would merely tell

the jury what result to reach, somewhat in the manner of the oath-helpers of an earlier

day. They also stand ready to exclude opinions phrased in terms of inadequately

explored legal criteria.

Fed. R. Evid. 704 advisory committee notes (1972 proposed rules).

Rule 704(a) is not intended to permit an expert witness to offer an opinion as to a legal
conclusion Owen v. Kerr-McGee Corp., 698 F.2d 236, 240 (5th Cir. 1983); accord Um'r‘ed States
v. Scop, 846 F.2d 135, 139 (2d Cir.), on reh ’g, 856 F.2d 5 (2d Cir. 1988). Furthermore, it is the
province of the courts, and not witnesses, to instruct juries as to the applicable principles of law. See
Scop, 846 F.2d at 140. Permitting “ an expert to give his opinion on the legal conclusions to be

drawn from the evidence both invades the court’s province and is irrelevant.” Owerr, 698 F.2d at

240. Nevertheless, factually based testimony more akin to an ultimate factual conclusion that may

 

disclose them to the jury only if their probative value in helping the jury evaluate the opinion
substantially outweighs their prejudicial effect.

The 2011 amendments “are intended to be stylistic only” without “intent to change any result in any ruling on evidence
admissibility.” Fed. R. Evid. 703 advisory committee notes (2011 amend.).

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dispose of particular issues, if believed, may be admissible Unr'ted Srm‘es v. Pr`perr', 101 F.3d 697,
1996 WL 661104, at *6 (5th Cir. 1996) (per curiam). ln short, while there is a strong, general pro-
scription on expert legal testimony, the courts have wide discretion to admit testimony that is helpful
to the trier of fact and does not either confuse the jury or usurp the role of the court in instructing
about the law. When a party designates a legal expert, courts must consider whether the testimony
of that expert would aid the trier of fact under Rule 702.

B. Application of Law to Facts in this Case

Defendants have moved to strike or exclude expert witness testimony and designations
However, the mere filing of a motion to exclude/strike does not necessarily trigger a full-blown
Daubert inquiry Courts may make “a preliminary assessment” as to whether a Daubert review is
warranted and may defer “pass[ing] orr the qualifications” of the witnesses until a later date. See
Tanner v. Wesrbrook, 174 F .3d 542, 545 (5th Cir. 1999) (recognizing this procedure by the trial court
and stating no disagreement with it), superseded in part by rule on other grounds Fed. R. Evid.
103(a) (2000), as recognized in Mcrthis v. Exxon Corp., 302 F.3d 448, 459 n. 16 (5th Cir. 2002). As
recognized in Kumho Tire Co. v. Carmr`ehael, 526 U.S. 137 (1999), the process for the courts’ gate-
keeping function lies within their broad discretion 526 U.S. at 152-53.

Furthermore, it is incumbent upon the movant to sufficiently call into question “an expert’s
testimony, or its factual basis, data, principles, methods, or their application.” Carlson v. Bioremedr'
Theraperrtr'c Sys., Inc., 822 F.3d 194, 199 (5th Cir. 2016) (citation and internal quotation marks
omitted). This sufficiency requirement is recognized in Kumho Tr're Co. with a reference to Part lll
of that decision. See 526 U.S. at 149. ln that part, the Supreme Court “further explain[ed] the way

in which a trial judge ‘may’ consider Daubert’s factors by applying these considerations to the case

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at hand, a matter that has been briefed exhaustively by the parties and their 19 amici.” Id. at 153.
The Supreme Court then found that the trial court had reasonable doubts about the methodology used
despite having no doubts about the expert’s qualifications and further found that the trial court reas-
onably concluded that the expert’ s testimony was not reliable after the court examined “the transcript
‘in some detail”’ and considered the proffered defense for the methodology Ia'. Part 111 of the
Kumho Tr`re Co. opinion reinforces the discretionary nature of the gate-keeping function and high-
lights that the party opposing an expert’ s testimony or its factual basis, data, principles methods, or
their application must initially create a reasonable doubt or uncertainty about the expert to trigger
further consideration under Dcrubert. See ial 153-58.

Determining whether a movant has sufficiently called into question some aspect of an expert
is necessarily case specific. ln Kumho Tire Co. the trial court initially doubted the expert’s metho-
dology and found it unreliable after reviewing a transcript in some detail and considering the defense
proffered for the methodology Id. at 153. The Fifth Circuit has recognized that a party may suffi-
ciently call experts opinions into question “by providing conflicting medical literature and expert
testimony.” Tanner, 174 F.3d at 546.

ln this case, Defendants have not satisfied the sufficiency requirement of Kumho Tire Co.
A party seeking a court order has an initial burden to adequately present issues for court consider-
ation. ln the instant context, this would at least require the movant to provide the expert designations
sought to be struck and to identify with some precision the opinions sought to be excluded But
Defendants do neither. They do not sufficiently call into question any specific testimony or opinion.
They do not sufficiently identify what specific opinions are problematic and should not be allowed

by the Court. Furthermore, while they briefly touch upon the factual basis for Gi]l’s opinions, they

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do not sufficiently call into question the factual basis, data, principles, or methods of any proposed
opinion or testimony

lf the Court were to find that Defendants have satisfied the sufficiency requirement of Krrmho
Tr`re Co. and thus find that additional consideration is warranted under Dauberr‘, the burden would
shift to Plaintiff to show the experts qualified, Lr`trle v. Tech. Specr'alty Prods., LLC, 940 F. Supp.
2d 460, 467 (E.D. Tex. 2013), and their opinions are reliable, Moore v. Ashland Chem. Ine. , 151 F.3d
269, 276 (5th Cir. 1998) (en banc). While the Court could perhaps consider the motion as suffi-
ciently questioning the qualifications of Gill, Wallace, and Wirmel, based on Defendants’ express
challenge to their qualifications the express challenge itself is insufficient First, Defendants con-
cede the legal expertise of Gill. Second, Defendants contend that Gill’s opinions improperly intrude
into the realm reserved for the trier of fact, that Wallace’s opinions about voice recognition lie out-
side his sphere of expertise, and that Wirmel’s journalistic expertise does not address any issue in
this case. Thus, despite the arguments of Defendants that these witnesses are not qualified to render
expert opinions, their qualifications in their respective fields are not really at issue. From the infor-
mation before the Court, it is unclear whether Plaintiff even asserts that Wallace is an expert in voice
recognition Plaintiff, furthermore, has provided some information to support finding Gill to be an
expert in the legal field, Wallace to be an expert in the psychological aspects of being falsely accused
and has expertise related to his professorship, and Wirmel to be an expert in journalism.

For purposes of this motion only, the Court has little to no doubt that each of these individ-
uals qualify as an expertl However, when an expert, such as Wallace in this case, lacks knowledge
and experience in the relevant discipline, the issue is one of reliability of the expert’s opinion See

Kumho Tire Co. , 526 U.S. at 149. Furthermore, with respect to Wirmel, the issue is not whether she

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is qualified in the journalism field but whether her opinions are relevant to any issue in this case
Likewise, the issue with respect to Gill is whether his opinions invade the province of the Court and
are thus irrelevant or whether his opinions are more akin to a potentially admissible ultimate factual
conclusion These are the matters that may ultimately determine whether the Court admits expert
opinions from these witnesses

The briefing in this case focus on a lack of expertise, but reliability and relevancy are the
essence of Defendants’ argument against allowing the expert opinions and Plaintiff merely touches
upon those matters to a limited extent. Without reviewing the specific opinions to be offered by the
experts in question it is difficult to determine their reliability. Accordingly, the Court declines to
consider their reliability or to admit or exclude them at this juncture lfPlaintiff relies on any specif-
ic expert opinion in response to a dispositive motion, Defendants may assert whatever objections
they deem warranted at that time8 Likewise, if this case proceeds to trial, Defendants may move to
exclude certain opinions at that time through a motion in limine

Because issues about the admissibility of proffered expert opinions will likely arise again in
this case, the Court has a few last words to clarify the issues First, without reference to the suffi-
ciency requirement of Kumho Tr.'re Co., Plaintiff mistakenly puts the burden on Defendants to show
that their motion is so meritorious that the Court should grant it. Had the Court found the sufficiency
requirement satisfied, the burden would have been on Plaintiff to show that his experts are qualified
and that their opinions are reliable Second, in general, “questions relating to the bases and sources

of an expert’s opinion affect the weight to be assigned that opinion rather than its admissibility and

 

aAs amended in December 2010, Fed. R. Civ. P. 56(0)(2) makes motions to strike unnecessary to challenge evidence
presented in the sumrnaryjudgment context Crrttr'ng Underwater Techs. USA, Ir.'e. v. Em‘ U.S. Operatr'ng Co., 671 F.3d
512, 515 (5th Cir. 2012) (per curiam).

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should be left for the jury’s consideration.” Urrr'fed Star‘es v. ]4.38 Acres of Land, 80 F.3d 1074,
1077 (5th Cir. 1996). The gatekeeper role “is not intended to serve as a replacement for the adver-
sary system.” Prr'mrose Oper‘o'ting Co. v. Nat’l Am. Ins. Co., 382 F.3d 546, 562 (5th Cir. 2004).
“Vigorous cross-examination presentation of contrary evidence, and careful instruction on the bur-
den of proof are the traditional and appropriate means of attacking shaky but admissible evidence.”
Doubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 596 (1993). And finally, with respect to
Wirmel and Wallace, it appears that their connections with the facts underlying this case provide a
sufficient basis to permit them to testify as fact witnesses in any event.
IV. CONCLUSION
For the foregoing reasons, the Court DENIES Defendants’ loint Motion to Strike Plaintiff’ s
Designated Expert Witnesses (doc. 70) without prejudice to the filing of a similar motion or
objections consistent with this order. Because the Court previously granted an extension of time for
Plaintiff to respond to Defendant Larry Tatum’s Motion for Surnmary Judgment (doc. 73) and
Defendants Woods’ and Wilson’s Motion for Summary Judgment (doc. 76), his responses to those
motions are now due twenty-one days from the date of this order. See Dkt. Entry 84.
so oRr)ERED this 2_7_ day of November, 2013.
MW
E. séoTT FRosT ' ’
UNITED STATES MAGISTRATE JUDGE

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